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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 RÜMEYSA ÖZTÜRK,
                                 Petitioner,
     v.                                                      Civil Action No. 1:25-cv-10695-DJC

 DONALD J. TRUMP, et al.,                                    Motion for leave to file excess pages
                                 Respondents.                granted on April 2, 2025.



           PETITIONER’S REPLY IN SUPPORT OF HER AMENDED PETITION

                                         INTRODUCTION

          Even before Ms. Öztürk’s evening arrest in Massachusetts, ICE had “determined” that

she would be removed from the state and held in Louisiana. D.E. 19-1 ¶ 6. Yet for approximately

22 hours after Ms. Öztürk’s arrest—including more than 17 hours after Ms. Öztürk’s counsel had

alerted government counsel of this habeas petition and more than 16 hours after this Court

ordered that Ms. Öztürk not be moved out of Massachusetts in order to “preserve the status quo,”

D.E. 3 ¶ 3—Ms. Öztürk’s counsel was kept in the dark about her client’s whereabouts as ICE

quickly and quietly moved her to three separate locations in three different states on her way to

Louisiana. ICE’s deliberate and secretive hopscotch approach is an unlawful attempt to game the

system. This Court should assume jurisdiction over this matter and grant Ms. Öztürk’s petition,

or at the least, transfer the petition to the District of Vermont.

                                   FACTUAL BACKGROUND

I.        Ms. Öztürk is a cherished member of the Tufts community.

          Ms. Öztürk is a Turkish PhD student in Eliot-Pearson Child Study and Human

Development at the Tufts Graduate School of Arts and Sciences. She received her master’s

degree in developmental psychology from Teachers College at Columbia University, where she




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was a Fulbright scholar. In her department’s own words, Ms. Öztürk is “compassionate, service-

minded, and principled individual” and a student “upon whom [the] department has come to

depend.” Exhibit 1, Rossman Decl. (Rossman), Exhs. 1-A, 1-U. Her commitment to the Tufts

community includes serving as a teaching assistant, facilitating campus events hosted by her

department and the Muslim Students Association, and fostering interfaith dialogue. Id., Exhs. 1-

U, 1-K, 1-B. “Her absence has left a profound void” in the Tufts community. Id., Exh. 1-A.

       On March 26, 2024, Ms. Öztürk co-authored an op-ed published in The Tufts Daily,

which criticized the Tufts’ administration’s response to the Tufts Community Union Senate’s

passage of several resolutions concerning human rights violations in Gaza. 1 The op-ed argued

the resolutions “were the product of meaningful debate and represent a sincere effort to hold

Israel accountable for clear violations of international law.” 2 The op-ed urged Tufts to “trust in

the Senate’s rigorous and democratic process” and “meaningfully engage with and actualize the

resolutions passed by the Senate.” 3 In February 2025, Canary Mission published a profile on Ms.

Öztürk, claiming that she “engaged in anti-Israel activism in March 2024 . . . .” D.E. 12 at 17. Its

sole support for this contention was a link to the March 2024 Tufts Daily op-ed. Id.

II.    ICE arrested and secretly transferred Ms. Öztürk to Louisiana.

        On March 25, 2025, at approximately 5:15 p.m., plainclothes officers arrested Ms.

Öztürk outside of her Somerville apartment. Video footage of the arrest shows that Ms. Öztürk

screamed in fear as a hooded officer grabbed her wrists while another officer, who later covered




1
  Rumeysa Ozturk et al., Op-ed: Try again, President Kumar: Renewing calls for Tufts to adopt
March 4 TCU Senate resolutions, THE TUFTS DAILY (Mar. 26, 2024),
https://www.tuftsdaily.com/article/2024/03/4ftk27sm6jkj.
2
  Id.
3
  Id.


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his face, took her phone. 4 A total of six officers ultimately surrounded Ms. Öztürk, restrained her

hands behind her back, and placed her in an unmarked vehicle.

        ICE ERO’s Boston Field Office in Burlington, Massachusetts, which is responsible for

all of New England, typically books people who are arrested on civil immigration charges in

Massachusetts in a process that takes several hours. Exhibit 3, Yountz Decl. (Yountz) ¶¶ 10, 12;

Exhibit 4, Fisher-Pinkert Decl. (Fisher) ¶ 5; Exhibit 6, Moran Decl. (Moran) ¶ 5. The HSI office

in Boston can also process people arrested in eastern Massachusetts by HSI or by CBP. Yountz ¶

10; Fisher ¶ 5. When ICE pursues detention, the person is typically held in Burlington for at least

12 hours—and generally 24-48 hours—before any transfer occurs. Yountz ¶ 12.

       Here, however, Ms. Öztürk was not taken to either Burlington or the HSI office in

Boston. Instead, ICE transported Ms. Öztürk to an undisclosed location in Methuen,

Massachusetts for an undisclosed reason. D.E. 19-1 ¶ 11. ICE held Ms. Öztürk in Methuen for

just 14 minutes before transporting her across the border to another undisclosed location tin

Lebanon, New Hampshire, for another undisclosed reason. D.E. 19-1 ¶¶ 11-12. Once Ms. Öztürk

was removed from Massachusetts, she was held in New Hampshire for close to 2 and a half

hours before ICE again placed her in a van and began driving to Vermont at approximately 9:03

p.m. D.E. 19-1 ¶¶ 11-12. The number and location of these transfers, as well as their highly

condensed time frame, is highly unusual. Yountz ¶¶ 11,14; Fisher ¶ 7; Exhibit 8, Diaz, ¶ 8.

       Ms. Öztürk was still in the van at 10:02 p.m. when her counsel filed a habeas petition on

her behalf, and immediately alerted government counsel. D.E. 19-1 ¶212-13; Exhibit 2, Mahsa

Khanbabai Decl. (Khanbabai) ¶¶ 2-3. The emergency clerk similarly alerted government




4
 WCVB Channel 5 Boston, Surveillance shows Tufts graduate student detained, YOUTUBE
(Mar. 26, 2025), https://www.youtube.com/watch?v=PuFIs7OkzYY.


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counsel. Khanbabai ¶ 3. ICE admits that ICE officials “obtained Petitioner’s counsel’s contact

information through the filing of the instant habeas petition[.]” D.E. 19-1 ¶ 20. Yet no one told

Ms. Öztürk’s counsel when Ms. Öztürk arrived at the ICE Field Office in St. Albans, Vermont,

at 10:28 p.m. D.E. 19-1 ¶¶ 12-13; Khanbabai ¶ 22. In fact, no one told Ms. Öztürk’s counsel that

Ms. Öztürk was in Vermont for the more than seven hours that she was held in that state, before

she was flown to Louisianna at 5:31 a.m. D.E. 19-1 ¶¶ 13, 16-17; Khanbabai ¶ 22.

       This movement and lack of notice occurred despite the Court’s 10:55 p.m. order on

Tuesday night that required the government not to move Ms. Öztürk out of Massachusetts

without providing at least 48 hours’ notice, to “preserve the status quo”. D.E. 2, 3. At 10:59 p.m,

Ms. Öztürk’s counsel emailed government counsel this order, who also received notice from the

emergency clerk. Khanbabai ¶¶ 4-5. In response, ICE neither returned Ms. Öztürk to

Massachusetts nor notified the Court, Ms. Öztürk’s counsel, or government counsel, that Ms.

Öztürk was in Vermont. Instead, 5 and a half hours after this order, ICE placed Ms. Öztürk on a

multiple flights to get her to Louisiana without notifying the Court, Ms. Öztürk’s counsel, or

government counsel. Khanbabai ¶ 10-14, 22.

       For almost ten additional hours after Ms. Öztürk’s flight left Vermont, ICE continued to

keep her location a secret, despite numerous efforts from multiple people to learn her

whereabouts. Ms. Öztürk’s counsel repeatedly contacted ICE ERO and ICE HSI but received no

response. Khanbabai ¶ 6. She repeatedly checked ICE’s Online Detainee Locator System, but

Ms. Öztürk’s “current detention facility” field remained blank. Khanbabai ¶ 7. She repeatedly

asked the government attorneys assigned to the case about Ms. Öztürk’s whereabouts, to no

avail. Khanbabai ¶ 9-14. The Turkish consulate personally went to the ICE office in Burlington,

Massachusetts, but was told that ICE could not provide any information about Ms. Öztürk’s




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location other than the fact that she was not at that facility. Khanbabai ¶ 8. It was not until 3:27

p.m. on Wednesday afternoon, approximately 22 hours after Ms. Öztürk’s arrest, that Ms.

Öztürk’s counsel received an email from government counsel that ICE had “informed” them that

Ms. Öztürk had been moved to Louisianna. Khanbabai ¶ 14.

       ICE states that it decided that Ms. Öztürk would be transferred to Louisiana even before

she was arrested because it had “determined there was no available bedspace for [her] at a

facility where she could appear for a hearing” in New England. D.E. 19-1 ¶ 6. Yet ICE provides

no explanation of, or support for, how it reached this “determin[ation].” Plymouth County

Correctional Facility in Massachusetts, Wyatt Detention Facility in Rhode Island, Stafford

County Correctional Facility in New Hampshire, Cumberland County Jail in Maine, Chittenden

Regional Correctional Facility in Vermont, and ICE’s Buffalo Facility in Batavia, New York can

all hold women detained by ICE. Yountz ¶¶ 8-9; Fisher ¶ 6. There is no indication that ICE

communicated with any of these facilities to determine whether they had bedspace available for

Ms. Öztürk. To the contrary, it seems ICE either did not communicate with these facilities or

ignored what it heard. For example, it appears that the Cumberland County Jail had at least 16

open beds on March 25 and March 26, 2025 Exhibit 5, Anna R. Welch Decl. ¶ 7-12.

III.   Ms. Öztürk’s arrest and detention, as well as the termination of her visa and student
       status, are part of a policy intended to silence and chill the speech of students and
       scholars who advocate for the rights of Palestinians.

       Ms. Öztürk’s arrest and detention, and the termination of her visa and her student status,

are part of an effort by the Trump administration to silence and chill speech supportive of the

rights of Palestinians and critical of Israel’s war in Gaza, especially on university campuses.

Opponents of such speech, including President Trump, have mischaracterized such speech as

inherently supportive of Hamas and antisemitic. Thus, on the campaign trail, President Trump

promised to “terminate the visas of all of those Hamas sympathizers, and . . . get them the hell


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out of our country,” and stated that foreign students would “behave” because “any student that

protests, I throw them out of the country.” D.E. 12 ¶¶ 38-43.

       In January 2025, President Trump signed two Executive Orders to begin to fulfill his

campaign promise of chilling speech in support of Palestinians. First, Executive Order

14161states that it is the United States’ policy to “protect its citizens” from noncitizens who

“espouse hateful ideology.” With regard to noncitizens already in the United States, it declares

the need to “ensure” that they “do not . . . advocate for, aid, or support designated foreign

terrorists and other threats to our national security.”

       Second, Executive Order 14188, entitled “Additional Measures to Combat Anti-

Semitism,” declares the “policy of the United States to combat anti-Semitism vigorously.” In a

fact sheet, 5 the White House promised “[i]mmediate action” to “investigate and punish anti-

Jewish racism in leftist, anti-American colleges and universities.” The sheet framed the order as

a “promise” to “Deport Hamas Sympathizers and Revoke Student Visas.” It quoted the President

to say to noncitizens “who joined in the pro-jihadist protests” that the government “will find you,

and . . . deport you.” The President promised to “quickly cancel the student visas of all Hamas

sympathizers on college campuses, which have been infested with radicalism like never before.” 6

       On March 6, 2025, Secretary Rubio posted to X: “Those who support designated

terrorist organizations, including Hamas, threaten our national security. The United States has

zero tolerance for foreign visitors who support terrorists.” D.E. 12 ¶ 48.

       In early March 2025, the Trump administration began targeting students who had spoken

in support of Palestinians for visa revocation, removal, and arrest and detention. On March 7,



5
 Fact Sheet: President Donald J. Trump Takes Forceful and Unprecedented Steps to Combat
Anti-Semitism, THE WHITE HOUSE (Jan. 30, 2025).



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DHS agents attempted to arrest a Columbia doctoral student who had posted on social media and

signed open letters related to Israel’s war in Gaza. D.E. 12 ¶ 53. DHS released a statement

characterizing her as being “involved in activities supporting Hamas. Id. In the ensuing days and

weeks, ICE has continued to target students and scholars engaged in activism, including by

arresting Mahmoud Khalil and Dr. Badar Khan Suri, and promptly sending both to Louisiana

detention facilities, D.E. 12 ¶¶ 54-57, and by unsuccessfully attempting to detain Yunseo Chung

before a court temporarily prohibited it. 7

IV.    Ms. Öztürk’s amended habeas petition and complaint asserts claims under the First
       Amendment, the Due Process Clause, and the Administrative Procedure Act.

       Ms. Öztürk filed an amended habeas petition and complaint on March 28, 2025. The

petition asserts claims under the First Amendment, the Due Process Clause, and the

Administrative Procedure Act, and seeks bail pending adjudication.

       First, the petition raises a claim that the government’s policy targeting noncitizens who

advocate for the rights of Palestinians, and its arrest and detention of Ms. Öztürk under that

policy, violates the First Amendment. Noncitizens are entitled to First Amendment protection.

Bridges v. Wixon, 326 U.S. 135, 148 (1945). Moreover, “speech on public issues occupies the

‘highest rung of the hierarchy of First Amendment values,’ and is entitled to special protection.”

Connick v. Myers, 461 U.S. 138, 145 (1983). “When the government targets not subject matter,

but particular views taken by speakers on a subject, the violation of the First Amendment is all

the more blatant. Viewpoint discrimination is thus an egregious form of content discrimination.”

Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 829 (1995). Because the

government targeted Ms. Öztürk for arrest and detention due to her viewpoints, it violated the


7
 Jaclyn Diaz, What we know about the case of detained Georgetown professor Badar Khan Suri,
NPR (Mar. 21, 2025), https://www.npr.org/2025/03/21/nx-s1-5336173/immigration-georgetown-
university-professor. Dr. Suri was later sent to Texas.


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First Amendment. Bello-Reyes v. Gaynor, 985 F.3d 696, 698 (9th Cir. 2021); Ragbir v. Homan,

923 F.3d 53, 70 (2d Cir. 2019), cert. granted, remanded, and vacated sub nom. on other

grounds, Pham v. Ragbir, 141 S. Ct. 227 (2020); Gutierrez-Soto v. Sessions, 317 F. Supp. 3d

917, 921 (W.D. Tex. 2018).

       Second, the petition challenged the legality of Ms. Öztürk’s detention under the Due

Process Clause. “Freedom from imprisonment—from government custody, detention, or other

forms of physical restraint—lies at the heart of the liberty that Clause protects.” Zadvydas v.

Davis, 533 U.S. 678, 690 (2001). The Due Process Clause prohibits detention “unless . . .

ordered in a criminal proceeding with adequate procedural protections, or, in certain special and

narrow nonpunitive circumstances where a special justification . . . outweighs the individual’s

constitutionally protected interest in avoiding physical restraint.” Id. (emphasis removed)

(citations and internal quotation marks omitted). Because an individual’s liberty interest is so

significant, 8 due process limits the permissible reasons for detention, which must be

“nonpunitive in purpose and effect.” Zadvydas, 533 U.S. at 690; Foucha v. Louisiana, 504 U.S.

71, 80 (1992). The Due Process Clause also requires that a noncitizen’s actual detention bear

some “reasonable relation” to these permissible nonpunitive purposes, which in the immigration

context are to ensure a noncitizen’s appearance in connection with the removal process and

protect the community. See Jackson v. Indiana, 406 U.S. 715, 738 (1972); Zadvydas, 533 U.S. at

690-91; Demore v. Kim, 538 U.S. 510, 532-33 (2003) (Kennedy, J., concurring) (detention may

not be to “incarcerate for other reasons”). Ms. Öztürk’s arrest and detention under the

government’s policy targeting noncitizens who advocate for the rights of Palestinians to punish




8
  Fernandez v. Trias Monge, 586 F.2d 848, 855 (1st Cir. 1978) (“[D]eprivation of physical
liberty is an intolerable affront to our most fundamental notions of Justice[.]”).


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and chill speech is not reasonably related to any permissible government purpose, and violates

the Due Process Clause.

       Third, the petition raised a claim under the APA. This claim challenges the government’s

policy of targeting noncitizens based on their expression of viewpoints favorable to the rights of

Palestinians, and the revocation of Ms. Öztürk’s student status—which cited the Foreign Policy

Ground at 8 U.S.C. § 1227(a)(4)(C)(i)—as arbitrary and capricious and contrary to law.

       Fourth, the petition seeks bail pending adjudication. The Supreme Court and the First

Circuit, and the government’s brief, have recognized this Court’s inherent judicial authority to

release a petitioner pendente lite. See, e.g., Ex Parte McCardle, 74 U.S. 506, 508 (1868);

Aronson v. May, 85 S. Ct. 3, 4-5 (1964); Woodcock v. Donnelly, 470 F.2d 93, 94 (1st Cir. 1972);

D.E. 19 at 25-26. Releasing Ms. Öztürk during the pendency of this petition is appropriate in

light of substantial claims raised and the extraordinary circumstances of this case.

                                          ARGUMENT

I.     This case should proceed in the District of Massachusetts, but if the Court disagrees,
       transfer to the District of Vermont would be appropriate.

       Even taking as true the government’s factual assertions, the petition in this case was filed

while Ms. Öztürk was not at a detention facility but in a vehicle fully within the control of the

Massachusetts-based ICE respondents named here—which include the heads of ICE operations

in New England—and as the government was taking unusual steps to move Ms. Öztürk out of

Massachusetts quickly. D.E. 19-1 at ¶ 12-13; Khanbabai Decl; Yountz Decl. After the filing of

the Petition, ICE ignored a Court order seeking to preserve the “status quo” and requiring notice

if Ms. Öztürk were transferred out of Massachusetts. Respondents also failed to inform the

Court, while preventing counsel from learning Ms. Öztürk’s whereabouts and Ms. Öztürk from




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contacting counsel until she was in Louisiana. Under these circumstances, venue is proper in

Massachusetts. If the Court disagrees, it should at most transfer the case to Vermont.

Venue over Ms. Öztürk’s petition is proper in Massachusetts.

       Habeas is the most “adaptable” remedy in American law. Boumediene v. Bush, 553 U.S.

723, 779 (2008). And as the critical exceptions to the default habeas jurisdictional rules in

Rumsfeld v. Padilla, 542 U.S. 426 (2004), suggest, it simply cannot be that the government may

detain a person, keep their counsel, family, and friends from knowing where they are being held,

look on as that counsel timely files a habeas petition challenging their unlawful detention in the

only place the detainee was known to be, move the detainee 1000 miles away, and end up in the

venue the government intended to manufacture all along.

       There is no dispute that the “default rule” in habeas cases is “that the proper respondent is

the warden of the facility where the prisoner is being held” at the time the petition was filed. Id.

at 435–36, 442. In Padilla, the Supreme Court interpreted that language to mean the person

“with the power to produce the body of such party before the court or judge.” Id. at 435. 9 But the

Court in Padilla also made clear that, in rare but important cases, the default rule would not

apply. 542 U.S. at 452 (Kennedy, J., concurring); see also Khalil v. Joyce (Khalil D.N.J.), 2025

WL 972959, at *20 (D.N.J. Apr. 1, 2025); accord Khalil v. Joyce (Khalil S.D.N.Y.), No. 25 Civ.

1935, 2025 WL 849803, at *13 (S.D.N.Y. Mar. 19, 2025). 10

       All four of the Padilla exceptions apply here. First, the unknown custodian exception



9
  The government spends much of its brief arguing that courts in this Circuit apply the immediate
custodian and district of confinement rules. ECF 19 at 7–13. But Petitioner does not take issue
with how those rules apply in ordinary cases.
10
   Historically, the writ of habeas has been about principles, not rules, and was never intended to
depend on technicalities that could easily be abused by the executive to restrict relief. See
Stephen I. Vladeck, The New Habeas Revisionism, 124 Harv. L. Rev. 941, 948 (2011); see also
Holiday v. Johnston, 313 U.S. 342, 350 (1941).


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applies. “[I]t is impossible to apply the immediate custodian and district of confinement rules”

“when . . . a prisoner is held in an undisclosed location by an unknown custodian.” Padilla, 542

U.S. at 450 n.18 (cleaned up) (discussing Demjanjuk v. Meese, 784 F.2d 1114 (D.C. Cir. 1986));

see Khalil D.N.J., 2025 WL 972959, at *28-30 (calling the “unknown custodian exception” “the

law of the land” and citing cases showing that “the lower federal courts have consistently

embraced the unknown custodian exception to the immediate custodian rule”); see United States

v. Moussaoui, 382 F.3d 453, 465 (4th Cir. 2004). At the time Ms. Öztürk filed her petition, her

lawyers had no way to know where she was—other than that she was detained by hooded,

plainclothes ICE officers in Somerville. D.E. 12 ¶ 19. Her lawyers acted swiftly to file a petition

challenging her detention in the only place that they could reasonably file it. And likewise, this

Court promptly acted to preserve its jurisdiction over that petition. D.E. 3. This exception is

consistent with Padilla, 542 U.S. at 450 n.18; Khalil D.N.J., 2025 WL 972959, at *28–29, as

well as the habeas pleading statute, which contemplates this very situation—filing a petition

when a detainee’s custodian is unknown, see 28 U.S.C. § 2242. 11 It is also consistent with Judge

Farbiarz’s decision in Khalil. See 2025 WL 972959, at *30 (believing petitioner was in New

York, and “because no phone calls were allowed” to “undo the impression,” unknown custodian

exception applied); Demjanjuk, 784 F.2d at 1115 (applying exception where detainee was held in

a “confidential” location).




11
  See United States v. Moussaoui, 382 F.3d 453, 465 (4th Cir. 2004) (where “immediate
custodian” is “unknown,” “the writ is properly served on the prisoner’s ultimate custodian”);
United States v. Paracha, 2006 WL 12768, at *6 (S.D.N.Y. Jan. 3, 2006), aff’d, 313 F. App’x
347 (2d Cir. 2008) (similar); Ali v. Ashcroft, 2002 WL 35650202, at *3 (W.D. Wash. Dec. 10,
2002); see also 28 U.S.C. § 2242 (at the pleading stage, requiring the naming of a petitioner’s
warden “if known”); Hertz & Liebman, 1 Federal Habeas Corpus Practice & Procedure § 10.1
(7th ed. 2015) (“The ‘immediate custodian’ rule . . . is inapplicable . . . where the prisoner’s
current whereabouts are unknown.”).


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       By itself, the unknown custodian exception defeats the government’s arguments that this

Court lacks jurisdiction. The exception explains why the government’s arguments that the Court

dismiss Ms. Öztürk’s petition because it “named improper respondents,” D.E. 19 at 11-12, and it

was filed in the wrong district, D.E. 19 at 12-13, are wrong. Her lawyers could not have known

that she was not in Massachusetts when they filed the petition, and they reasonably believed she

was there at that time. 12 Ms. Öztürk could not correct that impression, either, because she was

not permitted to contact her lawyers, despite repeated requests. Öztürk Decl. ¶ 6. And they could

not have known that they had to name “her immediate custodian in Vermont when the petition

was filed” because ICE’s efforts to withhold her location and prevent her from contacting

counsel ensured that counsel remained unaware that she was in Vermont at all.

       Moreover, even applying the immediate custodian rule, the petition was properly filed

against Respondent Hyde, who is located in Massachusetts. Hyde and the New England Field

Office took custody over Ms. Öztürk at the time of her arrest in the early evening of March 25

and never relinquished it until she stepped off a plane in Alexandria, Louisiana, almost 21 hours

later. Wesling Decl. ¶¶ 4–18. At the time the habeas petition on her behalf was filed, she was not

in a facility with a superintendent, but in a vehicle being moved around between different

locations in New England. Under longstanding immediate custodian first principles, at all times

before Ms. Öztürk’s arrival in Louisiana, the New England Field Office Director—Respondent

Hyde—was the one who could, at the command of this Court or another, “produce the body . . .




12
  The government’s theory would suggest that lawyers seeking to increase the odds they file
petitions in the “right” districts amidst government efforts to quickly transfer people to far-away
jurisdictions might try to file in multiple places, just to be safe. But as Judge Farbiarz pointed
out, that approach “might . . . be[] in some tension with the lawyer’s professional obligations.”
DNJ Op. 43 n.26. Here, Ms. Öztürk’s lawyers did all they could have possibly done to learn the
location of their client. D.E. 12 ¶¶ 25-39.


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before the court.” Padilla, 542 U.S. at 435 (quoting Wales v. Whitney, 114 U.S. 564, 574

(1885)); see also Rasul v. Bush, 542 U.S. 466, 478–79 (2004). Here, all existing evidence points

to Hyde as the actual immediate custodian and true warden in this case, including during periods

after the habeas petition was filed. That distinguishes this case from others involving the

common scenario of habeas petitioners held in long-term detention by a contract warden.

       Second and third, “the Government was not forthcoming with respect to the identity of

the custodian and the place of detention,” and “there is an indication that he Government’s

purpose in removing” Ms. Öztürk was “to make it difficult for [her] lawyer to know where the

habeas petition should be filed” and Padilla, 542 U.S. at 454 (Kennedy, J., concurring). 13 Here,

the government moved Ms. Öztürk from Somerville, Massachusetts, to Methuen, Massachusetts

(for 14 minutes), to Lebanon, New Hampshire (for less than 180), and on to St. Albans,

Vermont, in the course of under five hours. Wesling Decl. ¶¶ 10–13. It gave no justification for

all of these moves, and the government conspicuously omits any mention (let alone details)

about where or why Ms. Öztürk was taken in those places. What’s more, on the evening of her

arrest, Ms. Öztürk’s lawyers made numerous attempts to locate her, and she made numerous

attempts to reach counsel. Khanbabai ¶ 6-7; Exhibit 7, Öztürk Decl. ¶ 6. As ICE admits, it

obtained counsel’s contact information through the filing of her habeas petition on the night of

her arrest but gave that contact information to officials in Louisiana once she arrived at her final

detention location, ensuring that Ms. Öztürk would be unable to contact counsel until she was



13
   The Padilla majority—again, of which both Justice Kennedy and Justice O’Connor formed a
crucial part—twice emphasized that Justice Kennedy’s proposed exception had not been met in
the case before the Court. See 542 U.S. at 435–36 (majority op.) (“No exceptions to this rule,
either recognized or proposed, apply here.” (cleaned up)); id. at 441–42 (“There is no indication
that there was any attempt to manipulate behind Padilla’s transfer—he was taken to the same
facility where other al Qaeda members were already being held, and the Government did not
attempt to hide from Padilla’s lawyer where it had taken him.”).


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outside of New England. DE 19-1 ¶ 20. This is precisely the kind of scenario that Justice

Kennedy was worried about in Padilla—and why he explained that, in such cases, “habeas

jurisdiction would be in the district court from whose territory the petitioner had been removed.”

542 U.S. at 454.

       And fourth, under Ex Parte Endo, 323 U.S. 283 (1944), the government may not deprive

a court of habeas jurisdiction by moving them out of a district. See Khalil D.N.J., 2025 WL

972959, at *20–24 (discussing widespread consensus understanding of “the Endo Rule”). “The

objective of habeas relief,” the Supreme Court held, “may be in no way impaired or defeated by

the removal of the prisoner from the territorial jurisdiction of the District Court.” Endo, 323 U.S.

at 307 (cleaned up). That is what the government is attempting to do here and what it sought to

do in moving Ms. Öztürk after an order intended to “preserve the status quo.” DE 3 ¶ 3.

       The government argues that “there are no extraordinary circumstances that make

appropriate the naming of supervisory officials as respondents to this action or that ground

jurisdiction with this Court.” D.E. 19 at 13. And it maintains that all of the government’s

transfers of Ms. Öztürk were done of out “operational necessity.” Id. While the Court should not

credit the assertion regarding ICE’s purposes made by a declarant with no apparent personal

knowledge of them, D.E. 19-1 ¶ 1-6, the “unknown custodian rule” does not even implicate the

government’s reasons for transferring Ms. Öztürk, and it can and should be applied regardless of

why the government maintains she needed to be moved three times in less than three and a half

hours between three different states. Ms. Öztürk’s lawyers did not know who was detaining her

or where, but they reasonably filed here, the last place she was known to have been, after making

multiple failed efforts to get information from the government concerning her whereabouts.




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        Second, it does not require any finding of “bad faith,” D.E. 19 at 14, to apply the two

exceptions addressed in Justice Kennedy’s Padilla concurrence. As to one, “the Government was

not forthcoming with respect to the identity of the custodian and the place of detention,” 542

U.S. at 454—period. And as to the other, all Justice Kennedy suggested was required was “an

indication” that the government’s purpose was somehow related to making it difficult for a

lawyer to file a petition in the right place. Even without a finding of bad faith, there is at least an

indication that the government’s movements of Ms. Öztürk were connected to her lawyers’

ability to file a habeas petition. Those movements were highly unusual, fleeting, and apparently

involved transfer to facilities that do not serve as regular ICE detention centers. Yountz Decl.

The “indications” Justice Kennedy was looking for in Padilla are more than present.

        Third, the government points to other cases to show these exceptions should not apply

here, but all its discussion does is make clear that none of those cases are like this one. In

Vasquez v. Reno, 233 F.3d 688 (1st Cir. 2000), the petitioner was in Louisiana for at least six

months before he filed a habeas petition in Massachusetts against the Attorney General (on the

same theory that was rejected a year later in Padilla). See Pet. for Cert. at *3–4, Vasquez v. Att’y

Gen., 2001 WL 34125049 (U.S. Mar. 8, 2001); Padilla, 542 U.S. at 435 (“[L]ongstanding

practice confirms that in habeas challenges to present physical confinement[,] . . . the default rule

is that the proper respondent is the warden of the facility where the prisoner is being held, not the

Attorney General or some other remote supervisory official.”). 14 Moreover, the First Circuit in

Vasquez made clear that it could “envision that there may be extraordinary circumstances in

which” the immediate custodian rule might not apply, and that an “example of an extraordinary




14
  Because Padilla post-dates Vasquez, neither the petitioner nor the First Circuit had any
occasion to discuss the exceptions.


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circumstance might be a case in which the INS spirited an alien from one site to another in an

attempt to manipulate jurisdiction”—a case like this one. Id. at 696 (citing Padilla exceptions).

       Next, the government makes much of language in Ruvira-Garcia v. Guadian, 2020 WL

1983875 (N.D. Ill. Apr. 17, 2020), but in that case, a woman detained in Texas for almost a

month filed a habeas petition in Illinois—where she had never been detained, but where she had

“reside[d] and where she litigated her immigration status.” Id. at *2. She did not raise the Padilla

exceptions at all. In Fuentes v. Choate, 2024 WL 2978285 (D. Colo. June 13, 2024), the court

rejected (as the government acknowledges) any argument that “inconvenience” could justify

departure from the immediate custodian rule. Id. at *10. And the court rejected invocation of the

Padilla exceptions because rather than any indications of interference with a lawyer’s proper

filing, the petitioner had been moved after a suicide attempt to the same hospital where she had

received treatment for a previous suicide attempt and where the government could “ensure[ that

she] receive[d] the proper level of medical care.” Id.

       The government also invokes Judge Furman’s opinion in Khalil S.D.N.Y., 2025 WL

849803, but that is no help to it, either. Judge Furman examined the transfer of Mahmoud Khalil

from New York City, where he was arrested, to New Jersey the following morning. Id. at *8.

There, Judge Furman explained why he found that the evidence “f[e]ll short” of that justifying

the invocation of a Padilla exception, because his “own experience” showed that transfers of

immigration detainees from New York to New Jersey were “far from anomalous.” Id. at *8.

                                              * * *

       The extraordinary circumstances surrounding Ms. Öztürk’s multiple transfers more than

justify invoking one or all of the exceptions to the immediate custodian and district of

confinement rules in Padilla and finding that this Court has habeas jurisdiction over her petition.




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If the Court determines that this is not the proper venue for Ms. Öztürk’s               petition, it
should transfer the petition to the District of Vermont.

       If the Court does not agree that the extraordinary circumstances presented in this case

justify the kind of departure from the immediate custodian and district of confinement rules

contemplated by both the majority and the concurring Justices in Padilla, it should transfer this

case to Vermont, where Ms. Öztürk was detained at the time her lawyers filed her petition.

       The government argues that the Court should instead dismiss the petition, “because any

receiving court, like this Court, would lack jurisdiction to consider Petitioner’s claim of unlawful

arrest and detention and to provider her requested relief.” D.E. 19 at 26–27. But in a case almost

on all fours with this one, decided just yesterday, Judge Farbiarz thoroughly rejected that exact

argument. In Khalil, the court determined that the District of New Jersey had jurisdiction over a

habeas petition filed mistakenly in New York while the petitioner was in New Jersey. The

court’s analysis makes clear why, if this Court were to transfer this petition, Vermont would be

the proper transferee district. See Khalil D.N.J., 2025 WL 972959, at *14–20.

       One of the federal transfer statutes, 28 U.S.C. § 1631, not only empowers, but requires,

the Court to transfer a case “to cure want of jurisdiction” where transfer is “in the interest of

justice.” Under that statute:

               Whenever a civil action is filed in a court . . . and that court finds
               that there is a want of jurisdiction, the court shall, if it is in the
               interest of justice, transfer such action . . . to any other such court . .
               . in which the action . . . could have been brought at the time it was
               filed or noticed, and the action . . . shall proceed as if it had been
               filed in . . . the court to which it is transferred on the date upon which
               it was actually filed in . . . the court from which it is transferred.

Id. (emphasis added); see also 28 U.S.C. § 1404(a) (permitting transfer “in the interests of

justice”); 28 U.S.C. § 1406(a) (same). Section 1631 applies to habeas petitions. Khalil D.N.J.,

2025 WL L972959, at *16–17; see Quinn-Goncalves v. ICE Field Office, No. 24-cv-10653, 2024



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WL 2024 WL 1159213 (D. Mass. Mar. 15, 2024) (transferring habeas petition to District of New

Hampshire pursuant to 28 U.S.C. § 1631). As Judge Farbiarz explained, Section 1631 “work[s]

as a kind of time machine,” allowing one court to transfer a case to another district “as if it had

been filed” in the transferee court to begin with. Khalil D.N.J., 2025 WL L972959, at *15. 15

       It would plainly be “in the interests of justice” to transfer this case to Vermont instead of

dismissal. In Khalil S.D.N.Y., Judge Furman transferred a petition from New York to New Jersey

after concluding that justice would be served by transfer instead of dismissal, because the latter

would have meant “litigating far from [the petitioner’s] lawyers, from his eight-months-pregnant

wife, and from the location where most (if not all) of the events relevant to his petition took

place,” and because his “lawyers filed the Petition in [the S.D.N.Y.] based on a good-faith and

reasonable belief that he was then detained [t]here.” 2025 WL 849803, at *12. The same is true

here. Moreover, this record contains evidence that when Ms. Öztürk was in Vermont, ICE made

efforts to ensure her counsel would not know where she was. Here too, Ms. Öztürk’s lawyers and

community are located in New England, and the events relevant to her petition took place here.

Because transfer to Vermont would serve the interests of justice, transfer there is mandatory

(assuming this Court believes it lacks habeas jurisdiction). See 28 U.S.C. § 1631 (“shall”).

       Finally, the government asks for dismissal but suggests that if the Court does not dismiss

the petition, it can and should transfer the petition to Louisiana. D.E. 19 at 26–28. But transfer to

Louisiana is not possible. Under all three transfer statutes, cases can only be transferred to places

where they “could have been brought” (28 U.S.C. §§ 1631, 1406(a)) or “might have been

brought (28 U.S.C. § 1404(a)). That key phrase means “the situation which existed when suit



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  Judge Farbiarz made clear that in situations like this, subject matter jurisdiction is “irrelevant”
2025 WL 972959, at *16, *6 n.12. And Section 1631 can cure an absence of personal
jurisdiction, should the Court doubt that the District of Vermont has jurisdiction. Id. at *16–18.


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was instituted.” Hoffman v. Blaski, 363 U.S. 335, 343 (1960). The government might argue that

the phrase “‘where it might have been brought’ should be held to relate not only to the time of

the bringing of the action, but also to the time of the transfer.” Id. at 342. But long ago, the

Supreme Court forcefully rejected that interpretation: that language cannot “be interpreted to

mean . . . ‘where it may now be rebrought, with defendants’ consent.’” Id. at 342–43. By the

plain terms of the transfer statutes, transfer to the Western District of Louisiana is improper

because, at the time of filing, Ms. Öztürk could not have brought the petition there—under the

government’s own argument here—because she was not physically in Louisiana nor detained by

a warden in Louisiana. She was, instead, in Vermont.

II.    This Court has jurisdiction to review Ms. Öztürk’s claims.

8 U.S.C. § 1252(b)(9) does not bar review.

       Section 1252(b)(9) poses no obstacle to this Court’s review. That provision channels

review of “all questions of law and fact, . . . arising from any action taken or proceeding brought

to remove an alien from the United States . . . ” into Petitions for Review (“PFR”). Under

Jennings and subsequent Supreme Court and First Circuit precedent, the critical issue is whether

the PFR process provides adequate relief. 583 U.S. at 293 (plurality). Jennings endorsed a

narrow reading of “arising from” and explained that (b)(9) does not channel review into the PFR

process where doing so would make claims “effectively unreviewable” and the allegedly

unlawful conduct “would have already taken place.” Id. Section 1252(b)(9)’s “targeted

language” is “narrow.” DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1907 (2020).

       The rule after Jennings is simple: “When a detained alien seeks relief that a court of

appeals cannot meaningfully provide on petition for review of a final order of removal, §

1252(b)(9) does not bar consideration by a district court.” E.O.H.C. v. Sec’y, DHS, 950 F.3d 177,

180 (3d Cir. 2020). This principle applies with full force in this case. Petitioner challenges her


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retaliatory arrest and detention, which is currently chilling her speech and subjecting her to the

harms of punitive detention in violation of her due process rights. D.E. 12 ¶¶ 67–76. Requiring

Petitioner to raise these claims in her immigration proceedings and go through the lengthy

process of getting a final order of removal, appealing it to the BIA and then filing a PFR would

render her claims “effectively unreviewable” because the unlawful conduct—chilling of her

speech and punitive detention—“would have already taken place.” Jennings, 583 U.S. at 293.

        Respondents’ reliance on Aguilar is misplaced, as that case supports a finding of

jurisdiction here. D.E. 19 at 22. Indeed, Aguilar emphasized the limits of § 1252(b)(9),

explaining that “certain claims, by reason of the nature of the right asserted, cannot be raised

efficaciously” on a PFR, and that reading § 1252(b)(9) to cover such claims would effectively

bar “any meaningful judicial review.” Aguilar v. U.S. Immigr. & Customs Enf’t, 510 F.3d 1, 11

(1st Cir. 2007). In line with that observation, and particularly relevant here, Aguilar clearly stated

that “district courts retain jurisdiction over challenges to the legality of detention in the

immigration context.” Id. Nor does Gicharu support Respondent’s position. D.E. 19 at 22. There,

the First Circuit reiterated that Section 1252(b)(9) must be construed narrowly, but found that the

petitioner’s “claims of insufficient service and ineffective assistance of counsel” were barred

because they “plainly ‘arise from’ the removal process.” Gicharu v. Carr, 983 F.3d 13, 17 (1st

Cir. 2020). Finally, Respondents cite to an out-of-circuit district court case, Taal v. Trump, 2025

WL 926207, (N.D.N.Y. Mar. 27, 2025), but that decision is under-reasoned and, in any case,

does not involve claims challenging the legality of detention, which, under Jennings, Aguilar,

and other First Circuit precedent, are reviewable in habeas.

8 U.S.C. 1252(g) does not bar review.

        Section 1252(g) does not apply because Petitioner is not challenging any discretionary

decision to “‘commence proceedings, adjudicate cases, or execute removal orders.’” 8 U.S.C.


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§ 1252(g). Respondents broadly suggest that Ms. Öztürk challenges the Attorney General’s

discretionary decision to commence proceedings under § 1252(g). But Respondents’ argument is

incompatible with Supreme Court and Circuit Court precedent interpreting the scope of

§ 1252(g) and therefore must be rejected.

       As the Supreme Court has explained, “what § 1252(g) says is” quite “narrow[].” Reno v.

Am.-Arab Anti-Discrim. Comm. (AADC), 525 U.S. 471, 482 (1999). The provision bars courts

from reviewing only certain exercises of discretion by the Attorney General and “applies only to

three discrete actions that the Attorney General may take: her ‘decision or action’ to ‘commence

proceedings, adjudicate cases, or execute removal orders.’” Id. Section 1252(g) does not

preclude review of “many other decisions or actions that may be part of the deportation process;”

see also Jennings v. Rodriguez, 583 U.S. 281, 294 (2018) (rejecting the government’s argument

that § 1252(g) “sweep[s] in any claim that can technically be said to ‘arise from’ the three listed

actions of the Attorney General” and noting “we read the language” in § 1252(g) “to refer to just

those three specific actions themselves”).

       For starters, the First Circuit has affirmed that “§ 1252(g) does not bar judicial review of

[a Petitioners] challenge to the lawfulness of his detention.” Kong v. United States, 62 F.4th 608,

609 (1st Cir. 2023); see also, Zadvydas, 533 U.S. at 690, 691. Other courts have readily found

habeas jurisdiction over challenges to retaliatory detention. See, e.g., Bello-Reyes v. Gaynor, 985

F.3d 696, 698 (9th Cir. 2021) (addressing merits of First Amendment challenge to ICE

detention); Gutierrez-Soto v. Sessions, 317 F. Supp. 3d 917, 921 (W.D. Tex. 2018) (addressing

merits of First Amendment challenge to ICE detention).

       Moreover, Ms. Öztürk is not challenging any ultimate exercise of discretion by the

Attorney General to commence proceedings. Rather, she asserts legal claims challenging her




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detention under the First and Fifth Amendments, the separate and independent basis for the

Secretary of State’s determination to revoke her visa in retaliation for exercising protected First

Amendment speech, and the agency’s violation of the APA. As a textual matter, the Secretary of

State’s determination to invoke the Foreign Policy Ground in retaliation for Ms. Öztürk’s

protected speech is wholly separate from any decision by the Attorney General to commence

proceedings. And even if the Court were to construe Ms. Öztürk’s claim as a challenge to the

revocation of her visa in retaliation for exercising protected speech, § 1252(g) would not bar

review as such a determination is completely distinct from any discretionary action to

“commence proceedings.” Indeed, Courts have consistently concluded that § 1252(g) does not

bar review of the legal authority of an agency action, even if related to one of three discretionary

decisions. See Kong, 62 F.4th at 609 (holding “Section 1252(g)’s bar on judicial review of claims

‘arising from’ the government's decision to ‘execute removal orders’ does not preclude

jurisdiction over the challenges to the legality of the detention); Garcia v. Att’y Gen., 553 F.3d

724, 729 (3d Cir. 2009) (challenge to “very authority” behind decision to commence proceedings

does “not implicate[]” § 1252(g)); Madu v. Att’y Gen., 470 F.3d 1362, 1368 (11th Cir. 2006)

(explaining that while § 1252(g) bars courts from reviewing “certain exercises of discretion by

the attorney general, it does not proscribe substantive review of the underlying legal bases for

those discretionary decisions and actions”). Furthermore, § 1252(g) does not preclude review of

challenges to certain systematic government policies. See DHS v. Regents of the Univ. of

California, 140 S. Ct. 1891, 1907 (2020) (§ 1252(g) did not preclude judicial review of a

challenge to the government’s DACA rescission policy, even though the decision to rescind the

program could be “cast . . . as an initial ‘action’ in the agency’s ‘commence[ment] [of]

proceedings’”). None of the actions here, whether it be the detention, the policy, or the




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revocation decision, “arises from” any of the three discrete actions enumerated in 1252(g), and

none of them are discretionary.

       Respondent’s reliance on cases involving the government’s discretionary decision of

whether and when to commence proceedings is therefore irrelevant here. See DE 19 at 18. While

decisions on “whether and when” to commence a proceeding may fall within the scope of

prosecutorial discretion, the very legal basis to revoke Ms. Öztürk’s visa for engaging in First

Amendment speech, her immediate transfer thousands of miles away to manipulate jurisdiction,

and her unlawful detention are not discretionary decisions precluded from review under the

provision. Respondents in fact have no discretion to undertake such actions.

       Nor does AADC preclude review. There, the plaintiffs all had independent grounds of

removal, including visa-overstay violations or failure to maintain status, and the Court found that

“an alien unlawfully in this country has no right to assert selective enforcement as a defense

against deportation.” AADC, 525 U.S. at 488. Here, by contrast, there is no independent basis for

Petitioner’s removal and revocation of visa: the sole basis is the engagement in protected First

Amendment activity. Indeed, AADC warned against the use of §1252(g) where, as here, the

“basis of discrimination is so outrageous.” AADC at 491. As the Second Circuit held in Ragbir v.

Homan, “[t]o allow this retaliatory conduct to proceed would broadly chill protected speech,

among not only activists subject to . . . deportation but also those citizens and other residents

who would fear retaliation against others.” 923 F.3d 53, 71 (2d Cir. 2019), judgment vacated sub

nom. Pham v. Ragbir, 141 S. Ct. 227 (2020) (vacating on other grounds). The other cases

Respondents cite fail for similar misapplications or they deal with claims against the three

specific discretionary actions in 1252(g) as opposed to challenges against nondiscretionary

actions or underlying policy. See, e.g., Zundel v. Gonzales, 230 F. App’x 468, 475 (6th Cir.




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2007) (the decision to remove petitioner was based not on First Amendment claims but INS’s

determination “he had stayed in the country beyond the period for which he was authorized”). In

sum, nothing in § 1252(g) precludes this Court’s review.

8 U.S.C. § 1226(e) does not bar review.

       8 U.S.C. § 1226(e) does not preclude review here. That provision states that DHS’s

“discretionary judgment regarding the application of [Section 1226] shall not be subject to

review.” But Petitioner does not challenge a “discretionary judgment”; instead, she asserts that

the government has no legal authority to detain her in retaliation for her protected speech and

that her detention violates due process because it serves no legitimate purpose. D.E. 12 ¶¶ 73–76.

Section 1226(e) has no application to such claims challenging the legality of detention. See

Demore, 538 U.S. at 516–17 (finding that “Section 1226(e) contains no explicit provision barring

habeas review, and . . . its clear text does not bar [a petitioner’s] constitutional challenge” to the

legal authority for their detention); Sylvain v. Att’y Gen., 714 F.3d 150, 155 (3d Cir. 2013) (citing

Singh v. Holder, 638 F.3d 1196, 1202 (9th Cir. 2011)) (“[Section 1226(e)] does not limit habeas

jurisdiction over constitutional claims or questions of law.”); Al–Siddiqi v. Achim, 531 F.3d 490,

494 (7th Cir. 2008) (“[T]his section ... does not deprive us of our authority to review statutory

and constitutional challenges.”)). “Because the extent of the Government’s detention authority is

not a matter of ‘discretionary judgment,’” Petitioner’s challenge to the legal basis for detention

“falls outside the scope of § 1226(e).” Jennings, 583 U.S. at 296.

       Defendants’ cases are not to the contrary, but rather, support Petitioner’s position.

See, e.g., Hernandez-Lara v. Lyons, 10 F.4th 19, 33 (1st Cir. 2021) (Section 1226(e) did not

deprive the court or jurisdiction where petitioner challenged the extent of the government’s

detention authority); Nielsen v. Preap, 586 U.S. 392, 401 (2019) (affirming that Section 1226(e)

does not bar challenges to “the extent of the statutory authority that the Government claims”).


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8 U.S.C. § 1201(i) does not bar review.

               1.   Ms. Öztürk does not challenge the revocation of her visa.

       Contrary to Respondents’ assertion, Ms. Öztürk has not challenged the lawfulness of the

revocation of her student visa. D.E. 19 at 16. Rather, Ms. Öztürk challenges actions collateral to

and beyond the visa revocation itself: Respondents’ unconstitutional policy of targeting

noncitizens for their protected political speech; the retaliatory termination of Ms. Öztürk’s

SEVIS status 16; Ms. Öztürk’s retaliatory arrest notwithstanding Respondents’ general practice

not to do so when visas are revoked; and, most importantly, Ms. Öztürk’s ongoing unlawful

detention. 17 Respondents do not contend that § 1201(i) bars review of the legality of Ms.

Ozturk’s arrest and detention. And challenges to the remaining actions are collateral to the basis

for the visa revocation and are similarly not barred by 1201(i). Maramjaya v. U.S. Citizenship &

Immigr. Servs., 2008 WL 9398947, at *4 (D.D.C. Mar. 26, 2008).

       To the extent that Ms. Öztürk’s challenge to Respondents’ policy of unlawfully arresting

and detaining individuals as a form of First Amendment retaliation implicates any statutory

challenge, such a challenge is squarely based on Respondents’ use of the Foreign Policy Ground

and not the visa revocation itself. 18 The government has relied on the Foreign Policy Ground to

intimidate and retaliate against noncitizens who have expressed—or are merely perceived to



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   See Jie Fang v. Dir. U.S. Immigr. & Customs Enf’t, 935 F.3d 172, 176 (3d Cir. 2019) (noting
that the “mechanism of revocation is [] inapplicable to this appeal,” which involved DHS’s
termination of a student’s SEVIS status).
17
   Defendants concede that Ms. Öztürk is not subject to mandatory detention, and do not dispute
that ICE could have released her after arrest. D.E. 19 at 19-20.
18
   Before ICE could issue an NTA to Ms. Ozturk asserting that her visa had been revoked, Ms.
Öztürk’s SEVIS designation was terminated. D.E. 12 ¶ 33 & Ex. A. The SEVIS termination
notice (addressed but not provided to Ms. Öztürk) cited both 8 U.S.C. § 1201(i) and 8 U.S.C. §
1227(a)(4)(C)(i)—that is, the Foreign Policy Ground. ICE subsequently issued an NTA to Ms.
Öztürk but only chose to charge her as removable under 8 U.S.C. § 1227(a)(1)(B) because her
visa had been revoked under 8 U.S.C. § 1201(i).


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have expressed—speech the government disfavors. Respondents’ current reliance on 8 U.S.C. §

1201(i) should not deflect the Court’s attention away from the governement‘s well-publicized

unconstitutional and unlawful conduct.

               2. Even if some of Ms. Öztürk’s claims are construed as a challenge to the
               revocation of her visa, the jurisdictional bar in § 1201(i) has no force here.

       Section 1201(i) bars judicial review only over “discretion[ary]” decisions by the

Secretary of State to revoke visas. But “that discretion is not boundless.” Abourezk v. Reagan,

785 F.2d 1043, 1061 (D.C. Cir. 1986), aff’d, 484 U.S. 1 (1987). Discretion may not be used to

“transgress constitutional limitations,” and “[i]t is the duty of the courts” to establish where the

“constitutional boundaries lie.” 785 F.2d at 1061. The Secretary of State cannot cloak

unconstitutional or unlawful conduct under the guise of “discretion” and thereby evade judicial

review. Cf. Limone v. United States, 579 F.3d 79, 102 (1st Cir. 2009) (unconstitutional conduct

cannot be immunized as discretionary); Morales v. Chadbourne, 996 F. Supp. 2d 19, 36-37

(D.R.I. 2014), aff’d in part, dismissed in part, 793 F.3d 208 (1st Cir. 2015) (allegations that ICE

officers acted unconstitutionally in arresting and detaining plaintiff without probable cause or

due process fell outside discretionary function exception to Federal Tort Claims Act).

       This Circuit has preserved judicial review where the claim, as here, “does not arise from

[a] discretionary decision” but instead “arises from the government’s alleged violations of law . .

. and in failing to abide by its own regulations.” Kong v. United States, 62 F.4th 608, 618 (1st

Cir. 2023) (rejecting 8 U.S.C. 1252(g)’s application to claim challenging lawfulness of arrest and

detention) (internal citations omitted). Respondents have no discretion to violate the First

Amendment by arresting, jailing, and attempting to deport Ms. Öztürk based on her political

speech critical of U.S. and foreign government policies; to violate the Due Process Clause by




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subjecting Ms. Öztürk to unjustified and wholly punitive civil detention by relying on an

unconstitutionally vague statute; and to violate the APA. D.E. 12 ¶¶ 38-66.

       Ms. Öztürk also enjoys due process rights by virtue of having been admitted for entry on

a valid F-1 student visa and having lived and studied in the U.S. for almost a year at the time of

her arrest. Zadvydas, 533 U.S. at 693 (“[O]nce an alien enters the country, the legal circumstance

changes, for the Due Process Clause applies to all ‘persons’ within the United States, including

aliens, whether their presence here is lawful, unlawful, temporary, or permanent.”); see also

Osorio-Martinez v. Att’y Gen., 893 F.3d 153, 167 (3d Cir. 2018) (holding that petitioners who

have significant ties to the U.S. and are accorded important statutory and procedural protections

are entitled to invoke the Suspension Clause and petition for a writ of habeas corpus); Ibrahim v.

DHS, 669 F.3d 983, 994-95 (9th Cir. 2012) (noncitizens in the United States “may bring

constitutional challenges . . . including the ability to challenge the revocation of a visa”). The

revocation of her visa and subsequent misconduct also violate her due process rights.

       None of the cases Respondents cites with respect to the scope of § 1201(i) involved

challenges by noncitizens living in the U.S. who had been unlawfully detained. 19 The significant

due process concerns here, where Ms. Öztürk was arbitrarily arrested and transported a thousand

miles away to be subjected to arbitrary detention as a form of retaliation for her protected speech,

cannot be discarded because the government premises this illegal conduct on a discretionary

decision to revoke her visa.




19
  Indeed, Bolante v. Achim noted that district courts “retain jurisdiction to review detention
unrelated to a removal proceeding, and therefore not subject to circuit court review under INA §
242,” such as “when the government has punitively detained an alien independent of removal.”
457 F. Supp. 2d 898, 902 (E.D. Wis. 2006).


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        Ms. Öztürk’s claims are also protected under the Suspension Clause. Respondents’

arguments suggesting that the effect of § 1201(i) is to divest this Court’s jurisdiction to consider

the legality of Ms. Öztürk’s detention are without merit and similar arguments have been

expressly rejected by the First Circuit. See Kong v. United States, 62 F.4th 608, 616 (1st Cir.

2023) (finding that “the effective result of the government's desired interpretation” of § 1252(g)

was “to bar all detention-related claims” which “would raise serious constitutional concerns

under the Suspension Clause” because “[a]bsent the right to judicial review through a habeas

petition, the government could detain noncitizens indefinitely without needing to provide a

justification to anyone”).

       The government makes similar arguments here, suggesting that this Court is precluded

from considering the lawfulness of detention that results from a discretionary visa revocation

because Ms. Öztürk “can seek judicial review before an Immigration Court, the BIA, and

eventually to a court of appeals if she is ordered removed.” D.E. 19 at 15. But the “adequacy of

this ‘meaningful opportunity’ to demonstrate that one's detention is unlawful depends on ‘the

rigor of any earlier proceedings’: for example, ‘when a person is detained by executive order,

rather than, say, after being tried and convicted in a court, the need for collateral review is more

pressing.’” Taylor v. McDermott, 516 F. Supp. 3d 94, 110 (D. Mass. 2021) (quoting

Boumediene, 553 U.S. at 782-83). Here, the executive’s unlawful retaliatory decision to place

Ms. Öztürk in detention was devoid of any rigor and due process; rather Respondents rely on the

very discretionary nature of the decision to revoke Ms. Öztürk’s visa as a basis to deny her the

opportunity to invoke the writ. Such an inversion of a fundamental constitutional provision

should not be afforded any weight.




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       Ms. Öztürk similarly does not have adequate alternatives to this Court’s review of her

unlawful detention under the writ. See Osorio-Martinez, 893 F.3d at 167 (holding the “INA’s

jurisdiction-stripping provisions effect an unconstitutional suspension of the writ” when the

challenged removal regime did not provide an adequate substitute process); Sean B. v.

McAleenan, 412 F. Supp. 3d 472 (D.N.J. 2019) when available alternatives to district court

habeas review are not adequate, “the district court has been found to retain limited habeas

jurisdiction, as a constitutional necessity”). Here, Ms. Öztürk is subject to unlawful detention and

while Respondents concede she may seek bond through the immigration court, they fail to

acknowledge that the arbiter there would be Respondents’ employee, not an independent Article

III judge, and the distinct eligibility criteria for release in the alternative proceeding. Compare

Lyons, 10 F.4th at 41 (holding that to detain a non-citizen under discretionary detention, the

government bears the burden to prove the non-citizen is a danger to the community by a clear

and convincing standard or flight risk by a preponderance of the evidence standard) with Matter

of Guerra, 24 I. & N. Dec. 37, 40 (B.I.A. 2006) (holding non-citizen bears the burden to prove

eligibility for bond). And while Ms. Öztürk could eventually resolve her eligibility to remain in

the United States through this alternative process, the underlying unlawful arrest and detention

requires the remedy of the great writ. See Lopez v. Doe, 681 F. Supp. 3d 472, 488 (E.D. Va.

2023) (holding that “the appeals process following the immigration court’s resolution of [a]

motion to reopen is neither ‘adequate’ nor ‘effective’” because while it “would eventually

resolve his claim, […] his detention claim becomes moot on finality”); Boumediene, 553 U.S. at

785 (“Even when the procedures authorizing detention are structurally sound, the Suspension

Clause remains applicable and the writ relevant.”).




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Ms. Öztürk challenges a final agency action.

       The government’s APA arguments lack merit. First, as explained above, none of the INA

jurisdictional provisions on which the government relies divests this Court of review over Ms.

Öztürk’s non-discretionary constitutional and APA claims. Sections 1252(g) and 1226(e) do not

preclude review to challenges to the Executive’s legal authority, and Ms. Öztürk is not required

to exhaust any administrative process where doing so would render her claims “effectively

unreviewable.” See supra, parts II.A-D.

       Moreover, Ms. Öztürk challenges final agency action. Ms. has raised claims concerning

the unlawful termination of her SEVIS status. See D.E. 12 ¶ 63-66. Petitioner has alleged that

ICE did not follow appropriate procedures concerning the termination of her SEVIS status. Id.

The regulations at 8 C.F.R. § 214.1(d) lay out the sole means by which ICE may 20 a student’s

non-immigrant status￼￼ None of those steps were followed in Ms. Öztürk’s case. D.E. 12-1.

An order terminating an individual’s student status is reviewable as final agency action under the

APA. Jie Fang, 935 F.3d at 182. Nowhere in their opposition do Respondents address the

unlawful termination of Ms. Öztürk’s SEVIS status, and she is free to challenge that termination

in district court. Id. (reinstatement and removal proceedings are not adequate substitutes for

seeking review of unlawful termination).

III.   Ms. Özturk is entitled to release pending this litigation.

       Ms. Öztürk is a scholar and cherished member of her academic community. As Ms.

Öztürk’s friends and colleagues attest, she is a welcoming and compassionate member of her



20
   ICE may terminate non-immigrant student status (1) by revoking a waiver that the Attorney
General had previously authorized under § 212(d)(3) or (4) of the Immigration and Nationality
Act; (2) by the introduction of a private bill to confer permanent resident status, or (3) pursuant
to notification in the Federal Register, on the basis of national security, diplomatic, or public
safety reasons. 8 C.F.R. § 214.(d).


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department, the Muslim Students Association, and the Interfaith Center at Tufts. She is devoted

to the service of others. Her compassion and belief in the goodness of humanity is reflected in

her academic research, which focuses on how social media can be used to encourage children to

engage in behavior that a person does to benefit others rather than themselves. See generally

Rossman Decl. and accompanying exhibits.

        The government concedes that this Court has the authority to release Ms. Öztürk pending

adjudication of her habeas petition. 21 See D.E. 19 at 25. 22 In the First Circuit, the applicable legal

standard for release pendente lite turns on whether the petitioner raises their claim pre- or post-

conviction. See Glynn v. Donnelly, 470 F.2d 95, 97 (1st Cir. 1072). 23 Ms. Öztürk has not been

charged, much less convicted of any crime. Therefore, the less demanding standard articulated in

Mapp v. Reno, 241 F.3d 221 (2d Cir. 2001) applies. See Savino, 453 F. Supp. 3d. 441, 454-55 &

n.11 (D. Mass. 2020). Under Mapp, a court may grant release if the habeas petition raises

substantial claims and extraordinary circumstances make the grant of bail necessary to make the

habeas remedy effective.” Id. at 453. As set forth above, Ms. Öztürk’s claims for relief are more

than substantial and the shocking circumstances in which they arise necessitate release.

        A broad range of circumstances may qualify as “extraordinary.” 24 Ms. Öztürk was

targeted for arrest and detention pursuant to an unprecedented policy of targeting international




21
   This authority includes release on recognizance, with or without conditions, or on appropriate
bail. See, e.g., Healy v. Spencer, 406 F. Supp. 2d 129 (D. Mass. 2005).
22
   See also Yanish v. Barber, 73 S. Ct. 1105, 1107-09 (1953) (Douglas, J., in chambers); York ex
rel. Davidescu v. Nicolls, 159 F.2d 147, 148 (1st Cir. 1947); Savino v. Souza, 453 F. Supp. 3d
441, 453-54 (D. Mass. 2020).
23
   See also Aronson v. May, 85 S. Ct. 3, 4-5 (1964) (Douglas, J., in chambers); Bader v. Coplan,
No. 02-508, 2003 WL 163171, at *4 (D.N.H. Jan. 23, 2003) (Glynn applies post-conviction).
24
   See, e.g., Leslie v. Holder, 865 F. Supp. 2d 627, 639 (M.D. Pa. 2012) (including extent of the
petitioner’s immigration detention); D’Alessandro v. Mukasey, 2009 WL 799957, at *3
(W.D.N.Y. Mar. 25, 2009) (including lack of flight risk or danger to community).


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students for their constitutionally protected speech, on the basis of an op ed that was published in

a campus newspaper and violated no university policies. Rossman, Exh. 1-V. Ms. Öztürk’s

detention was not some inevitable byproduct of the immigration detention system. The

government acknowledges that ICE is under no obligation to detain Ms. Öztürk at all. D.E. 19 at

20. Ms. Öztürk’s detention bears no reasonable relation to any permissible, non-punitive purpose

as she is neither a flight risk nor a danger to her community. See Zadvydas, 533 U.S. at 690. 25

Moreover, Ms. Öztürk has asthma and, prior to being detained, took a daily medication to

prevent asthma attacks. See Öztürk Decl. ¶ 4. Now she has already had three asthma attacks in

her detention of little over a week. Id. ¶¶ 7-9. 26 Each day Ms. Öztürk remains in detention puts

her life at risk, prolongs the government’s unjustified retaliation, and reinforces the broad chill

already cast on other noncitizens who will fear they could be next.

        Because Ms. Öztürk satisfies prevails under either standard for relief and is neither a

flight risk nor a danger to her community, the Court should grant her release pendente lite.

                                           CONCLUSION

        For the foregoing reasons, the Court should accept jurisdiction over the petition and order

the petitioner’s release or at the least, transfer the petition to the District of Vermont.



25
   The government suggests that because Ms. Öztürk is entitled to a bond hearing in immigration
court, she may not seek bail from this Court. D.E. 19, at 20, 26 & n.8. The government points to
no authority for the proposition that a habeas petitioner must exhaust administrative remedies
before seeking release pendente lite. For good reason. The exigency of Ms. Öztürk’s substantial
constitutional and statutory claims requires immediate release, especially where, as here,
petitioner faces irreparable harm, the immigration courts are not empowered to hear
constitutional claims, and there is ordinarily no judicial review of the agency’s bond
determination. See Flores-Powell v. Chadbourne, 677 F. Supp. 2d 455, 463-64 (D. Mass. 2010)
(“A loss of liberty may be an irreparable harm.”).
26
   See also Decker & Enriquez, Inside the Black Hole, 33, 37-38, 41-46, 50, 53, 57, 59-60, 66,
70, 72, 74-80 (August 2024), https://www.laaclu.org/sites/default/files/
inside_the_black_hole_systemic_human_rights_abuses_against_immigrants_detained_disappear
ed_in_louisiana.pdf.


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Dated: April 2, 2025                   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 2, 2025, a true copy of the above document will be filed via

the Court’s CM/ECF system and that a copy will be sent automatically to all counsel of record.


April 2, 2025                                /s/ Adriana Lafaille
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